Case 1:18-cv-22923-DPG Document 5-2 Entered on FLSD Docket 07/26/2018 Page 1 of 1



           C. Reimbursement for loss or damage to the seafarer's personal effects shall not apply if
               such loss or damage is due to (a) the seafarer's own fault; (b) larceny or theft or (c)
               robbery.

           D. Payment of any reimbursement shall be computed at the rate of exchange prevailing
               at the time of payment.

           SECTION 28. GENERAL SAFETY

           A. The seafarer shall oþserve and follow any regulation or restriction that the master may
               impose concerning safety, drug and alcohol and environmental protection,

           B. The seafarer shall make use of all appropriate safety equipment provided him and
               must ensure that he is suitably dressed from the safety point of view for the job at
               hand.

           SECTION 29. DISPUTE SETTLEMENT PROCEDURES

           ln cases of claims and disputes arising from this employrnent, the parties covered by a
           collective bargaining agreement shall submit the claim or dispute to the original and
           exclusive jurisdíction of the voluntary arbitrator or panel of voluntary arbitrators. lf the
           parties are not covered by a collective bargaining agreement, the parties may at their
           option submit the claim or dispute to either the original and exclusive jurisdiction of the
           National Labor Relations Commission (NIRC), pursuant to Republic Act (RA) 8042
           otherwise known as the Migrant Workers and Overseas Filipinos Act of 1995, as
           amended. or to the original and exclusive jurisdiction of the voluntary arþitrator or panel of
           arbitrators. lf there is no provision as to the voluntary arbitrators to be appointed by the
           parties, the same shall be appointed from the accredited voluntary arbitrators of the
           National Conciliation and Mediation Board of the Department of Labor and Employment.


           The Philippine Overseas Employment Administration (POEA) shall exercise original and
           exclusive jurisdiction to hear and decide disciplinary action on cases, which are
           administrative in character, involving or arising out of violations of recruitment laws, rules
           and regulations involving employers, principals, contracting partners and Filipino
           seafarers.


           SECTION 30, PRESCRIPTION OF ACTION

           All claims arising from this contract shall be made within three (3) years from the date the
           cause of action arises, otherwise the same shall be barred.


           SECTION 31. APPLICABLE LAW

           Any unresolved dispute, claim or grievance arising out of or in connection with this
           contract including the annexes thereof, shall be governed by the laws of the Republic of
           the Plriiippines, international conventions, treaties and covenants to which the Philippines
           is a signatory.


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